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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JULIE A. SU,                       )
ACTING SECRETARY OF LABOR,         )
UNITED STATES DEPARTMENT OF LABOR, )
                                   )
      Plaintiff,                   )
                                   )
      v.                           ) Civil Action No. 21-cv-108-DSC
                                   )
AGEWELL HOME HELPERS, INC., D/B/A  )
AGEWELL CAREGIVER SERVICE,         )
RAVI GURUNG, AND MEENA GURUNG      )
                                   )
      Defendants.                  )
                                   )



 OPPOSITION TO DEFENDANTS’ MOTION FOR STATUS CONFERENCE AND TO
           STAY DEADLINES PENDING STATUS CONFERENCE

       The Acting Secretary opposes Defendants’ motion seeking a status conference to discuss

Corner Post Inc. v. Board of Governors of the Federal Reserve System, 144 S.Ct. 2440 (2024).

While Defendants have not yet formally asked the Court to stay this action pending the outcome

of their declaratory judgment action 1 (or consolidate it with that action), they have indicated their

intention to do so at the requested status conference. Because there is no basis for stay or

consolidation, there is no reason for the Court to schedule a status conference.

       As Defendants recognize, their declaratory judgment action, which is still pending in the

Third Circuit, involves not only the statute of limitations applicable to challenges to agency

action under the Administrative Procedure Act (the issue addressed in Corner Post), but also the

“threshold issue” of “whether Agewell can maintain an affirmative suit challenging the 2013



1 Agewell Home Helpers, Inc. v. Dep’t of Labor, 2:20-cv-1773 (W.D. Pa.), consolidated at 2:20-
cv-01545; Intra-National Home Care LLC, et al. v. Dep’t of Labor, 22-2628 (3rd Cir.).
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regulation even though it is the subject of an enforcement action and was aware that it was under

investigation when it brought this suit.” ECF 62-1 (letter from U.S. Department of Justice to the

Third Circuit). Defendants’ arguments regarding Corner Post and whether they can continue to

pursue their case against the Department are properly raised before the Third Circuit in that case,

not before this Court. Whether Agewell’s declaratory judgment action should be dismissed is

not at issue here.

        Moreover, this Court already denied a motion filed by Agewell’s co-plaintiff in the

declaratory judgment action to stay the government’s enforcement action against it in Su v. Intra-

National Home Care, LLC, et al., 2:21-cv-1391 DSC, ECF 105 (denying Intra-National’s motion

to stay). As the Department argued in response to that motion (id. at ECF 72), there are

numerous reasons why this matter (like Intra-National) should not be delayed pending the

resolution of the declaratory judgment action, regardless of how the statute of limitations issue

addressed in Corner Post is ultimately resolved in that case. For example, such a stay would

potentially be quite lengthy -- there is no indication when the Third Circuit may rule on the

pending appeal in the declaratory judgment action, and should the case be remanded as

Defendants wish, it could easily be years before the District Court rules on the merits and a

subsequent appeal concludes. Defendants’ employees have waited as many as seven years to be

paid their wages, and a stay of such indefinite nature would exacerbate the economic hardship

and fundamental unfairness resulting from these delayed payments.

        Even in the event that Agewell prevailed in its pending appeal, Agewell will ultimately

fail in its quest to invalidate a regulation that has already been upheld by the D.C. Circuit, with

the U.S. Supreme Court denying certiorari, Home Care Ass’n of Am. V. Weil, 799 F.3d 1084

(D.C. Circ. 2015), cert. denied, 579 U.S. 927 (2016). Moreover, Defendants will have an
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opportunity to challenge the application of the 2013 third party employer regulation in this

enforcement case. Allowing this enforcement case to proceed would mean the question of

Defendants’ liability based on the applicable law and relevant facts could be fully resolved

without additional unnecessary delay.

       Finally, contrary to Defendants’ assertions, the first-to-file rule does not warrant a stay.

While the declaratory judgment action was filed before this case, it was filed as an impermissible

anticipatory suit to avoid liability after Defendants knew that the Department of Labor was

investigating them. At that time, Defendants knew that they were paying straight time

compensation for overtime hours worked and also knew that this practice was prohibited by the

Department’s regulations. Filing a facial challenge to the Department’s regulations while under

federal investigation is the kind of anticipatory challenge that is exempt from the first-filed rule.

See, e.g., E.E.O.C. v. Univ. of Pennsylvania, 850 F.2d 969, 977 (3d Cir. 1988) (holding that the

first-filed rule “should not apply when at least one of the filing party’s motives is to circumvent

local law and preempt an imminent … action”).

       The first-filed rule also does not apply because the two cases raise distinct issues. See id.

at 971 (explaining that the first-filed rule “gives a court ‘the power’ to enjoin the subsequent

prosecution of proceedings involving the same parties and the same issues already before another

district court” (emphasis added)). The declaratory judgment action is a facial attack on the 2013

third party employer regulation under the Administrative Procedure Act, but the instant case is

an enforcement action arising from Defendants’ failure to pay proper overtime compensation to

its employees under the Fair Labor Standards Act. The resolution of the question whether the

2013 third party employer regulation is valid would still leave open the issue of whether the

relevant FLSA exemptions apply to their employees, as Defendants would still bear the burden
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of proving that either the companionship services or live-in domestic service employee

exemption applied.

       The Acting Secretary is prepared to address these arguments in greater detail should

Defendants file a motion to stay or consolidate this matter.

       WHEREFORE, Plaintiff respectfully requests that this Defendants’ Motion be DENIED.



       Respectfully submitted,

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                                              LABOR
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                                    CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system, which will provide notice and an electronic link to this document to the

attorneys of record in this case.

                                                     /s/ Andrea Luby
                                                     Andrea Luby
